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                        IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF KANSAS


ALEXANDER KON,

                                    Plaintiff,
                                                              CIVIL ACTION
v.
                                                              No. 17-2105-JAR
U.S. SECURITIES AND EXCHANGE
COMMISSION,

                                   Defendant,




                                            JUDGMENT

        This action came before the Court. The issues have been considered and a

decision has been rendered.

        IT IS THEREFORE ORDERED BY THE COURT that pursuant to the

Memorandum and Order filed and entered on March 28, 2017 (Doc. 20), this case is

dismissed for lack of subject matter jurisdiction.

        IT IS SO ORDERED.

Dated: March 29, 2017

                                              s/ Bonnie Wiest
                                              By Deputy Clerk
                                              TIMOTHY M. O’BRIEN
                                              Clerk of the District Court
